Case 2:21-cv-00615-BRM-LDW Document 28 Filed 09/20/21 Page 1 of 1 PageID: 1044




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 COUNT BASIE THEATRE INC.,                         Case No.: 3:21-cv-00615

                           Plaintiff,

                v.                                 Motion Return Date: November 15, 2021
 ZURICH AMERICAN INSURANCE
 COMPANY,

                           Defendant.

   NOTICE OF PARTIAL MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12

        PLEASE TAKE NOTICE that on November 15, 2021, or as soon thereafter as counsel

 may be heard, the undersigned attorneys for defendant Zurich American Insurance Company

 (“Zurich”) shall move before the Honorable Brian R. Martinotti, U.S.D.J., at the Clarkson S.

 Fisher Building & U.S. Courthouse, 402 East State Street, Trenton, New Jersey 08608 for a

 partial order of dismissal pursuant to Rule 12 of the Federal Rules of Civil Procedure; and

        PLEASE TAKE FURTHER NOTICE that in support of this motion, Zurich intends to

 rely upon the memorandum of law and certification of counsel with exhibits submitted herewith.


                                                      Respectfully submitted,

                                                      MOUND COTTON WOLLAN &
                                                       GREENGRASS LLP
                                                      Attorneys for Defendant
                                                      Zurich American Insurance Company


 Dated: September 20, 2021                            By: /s/ Philip C. Silverberg
                                                          Philip C. Silverberg
                                                          William D. Wilson
                                                          Craig R. Rygiel
